UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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RAYMOND ROSAS,


                                   Plaintiff,                          Index No.: 12 CIV 6557-VB-HBP


        -against-




BALTER SALES CO. INC., ARNOLD BALTER,
individually, MARK BALTER, individually, and
BARRY ROSENBERG, individually,


                                   Defendants.
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     MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                                            ATTORNEYS’ FEES
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       Balter Sales respectfully submits this Memorandum of Law in Opposition to

Rosas’s Motion for Attorney’s Fees, Costs and Interest.



                             PRELIMINARY STATEMENT

Plaintiff seeks attorneys fees in the amount of $292,000, for 604 hours billed at various

rates for four attorneys affiliated with the Arce Law Group. Included in the $292,000 is

$98,437.50 for work performed by Alexandra Freedman, a former associate at Arce Law

group. However, with respect to the $292,000, Plaintiff miscounted: the total hours add

up to 591. Further, plaintiff did not provide contemporaneous time records for work

performed by Alexandra Freedman.



       Accordingly, plaintiff’s demand for attorneys fees should be reduced by $6,284.77

(approximately 2%) to correct the error in adding the hours worked, and should be

reduced by $98,437.50 because Freedman’s fees are not supported by contemporaneous

time records.   Further, the Court should reduce Rosas’s requested fees to a reasonable

proportion of those sought to address excessive, redundant, unnecessary and vague time

entries and inflated values calculations of the hourly rates for each attorney that worked

on this case.




                                            1
                                      ARGUMENT

       The party seeking to recover attorneys’ fees “bears the burden of establishing

entitlement to [such] an award and documenting the appropriate hours expended and

hourly rates.” Hensley v. Eckerhart, 461 U.S. 424, 437, 103 S. Ct. 1933, 1941 (1983). As

a threshold matter, all attorneys’ fees applications must be supported by contemporaneous

time records, which “specify, for each attorney, the date, the hours expended, and the

nature of the work done.” See N.Y. State Ass’n for Retarded Children, Inc. v. Carey, 711

F.2d 1136, 1148, 1154 (2d Cir. 1983). “Where the documentation of hours is inadequate,

the district court may reduce the award accordingly.



       District courts should exclude hours that were not reasonably expended. from this

initial fee calculation hours that were not reasonably expended.” Hensley, 461 U.S. at

433-34, 103 S. Ct. at 1939. (internal quotation omitted). “[I]n dealing with such

surplusage, the court has discretion simply to deduct a reasonable percentage of the

number of hours claimed as a practical means of trimming fat from a fee application.”

Kirsch v. Fleet Street, Ltd., 148 F.3d 149, 173 (2d Cir. 1998) (internal quotations and

citation omitted).



       It is well-settled in the Second Circuit that a Court should deny an application for

attorneys’ fees in its entirety if it is unsupported by contemporaneous time records, or

transcriptions of contemporaneous records that clearly reflect that they were derived from

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contemporaneous time records. Carey, 711 F.2d at 1148, 1154 (“[A]ny attorney . . . who

applies for court-ordered compensation in this Circuit for work done after the date of this

opinion must document the application with contemporaneous time records.”); N.Y. City

Dist. Council of Carpenters Pension Fund v. Shroid Constr., No. 06-cv-13727, 2007 U.S.

Dist. LEXIS 83750, at *9 (S.D.N.Y. Nov. 13, 2007) (collecting cases and rejecting

attorneys’ fees application due to deficiencies in the supporting affidavits, including

failure to include contemporaneous time records”); see also Cement & Concrete Workers

Dist. Council Welfare Fund, Pension Fund, Annuity Fund, Educ. and Training Fund and

Other Funds v. Metro Found. Contractors, No. 08- cv-4563, 2011 U.S. Dist. LEXIS

15943, at *4 (E.D.N.Y. Feb. 17, 2011) (rejecting affidavit in support of fee request

because it failed to state that it was prepared from contemporaneous time records, even

though the affidavit provided information regarding the attorney, date and hours

expended and work performed).



       Here, Rosas seeks $98,437.50 in attorneys fees for work performed by Alexandra

Freedman, but does not offer contemporaneous time records from Ms. Freedman, any

statement from Ms. Freedman that she kept contemporaneous time records, or any

statement from anyone that the hours log provided was made from contemporaneous

records kept by Ms. Freedman, or any affirmation from Ms. Freedman. In place of these

records, Plaintiff offers an affirmation by Gregory Kirchenbaum that states, “Ms.

Freedman kept contemporaneous records of all the hours recorded in this chart.”

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Kirchenbaum Decl., ¶ 14. Plaintiff fails to state that the hours set forth in the chart come

from the contemporaneous records of Ms. Freedman. Even if one were to presume that

the hours recorded came from the records allegedly kept, they still were, in large part,

created before Kirchenbaum began working at Arce Law Group. Finally, and critically,

Kirchenbaum’s statement as to the fact that Ms. Freedman kept contemporaneous records

of the hours recorded is conclusory and not supported by evidence, and at best is

inadmissible hearsay, which cannot be relied upon for a determination that the hours were

in fact contemporaneously recorded. An application based on such records should be

rejected. See, e.g., Joe Hand Promotions, Inc. v. Soviero, No. 11-cv-1215, 2012 U.S.

Dist. LEXIS 123935, at *38- 39 (E.D.N.Y. July 31, 2012) (rejecting fee application

prepared “after-the-fact, in preparation to file this [attorneys’ fees] motion”, which

“simply estimated the amount of time based on a review of its files and prior experience

handling these types of matters.”); Ermenegildo Zegna Corp. v. 56th St. Menswear, Inc.,

No. 06-cv-7827, 2008 U.S. Dist. LEXIS 48411, at *13 (S.D.N.Y. June 26, 2008)

(rejecting fee application unsupported by contemporaneous time records); see also Shroid

Constr., 2007 U.S. Dist. LEXIS 83750, at *8-9 (same).



       Although Rosas’s attorneys assert that the summary judgment motion was largely

unsuccessful, this Court granted summary judgment with respect to Plaintiff’s claims for

sex discrimination, interference with protected rights against all Defendants, aiding and

abetting, and with respect to Plaintiffs claims against Arnold Balter under the New York

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State Human Rights law. See Opinion, Document 76, dated 3/30/15. This represents

approximately half of the claims asserted at the outset of this case. This court has the

authority to reduce the fee awarded to a prevailing plaintiff if the plaintiff’s success is

partial. Kassim v. City of Schenectady, 415 F.3d 246, 256 (2d Cir. 2005). Plainly, a

dismissal of half the claims at summary judgment is a basis for finding the plaintiff’s

success ‘partial.”



       Based on the foregoing, this Court should reduce Rosas’s fees by the difference

between the actual hours and the hours claimed (13/604, or $6,284.77) to account for the

incorrectly calculated number of hours, and by $98,437.50 to account for the unsupported

fees attributed to Alexandra Freedman, for a total of $187,277.73.



Dated: January 29, 2016



                                                 Respectfully submitted,




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